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 7                           UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                         Case No.: 22cr0330-LL
10
                               Plaintiff,              JOINT MOTION FOR
11                                                     PROTECTIVE ORDER
            v.                                         REGARDING DISCOVERY
12
     THUY CAM TRAN (1),
13
14   SAYA SOUVANNASENG (2),

15
                               Defendants.
16
17         The parties, United States of America, by and through its counsel Randy S.
18 Grossman, United States Attorney, and A. Dale Blankenship, Assistant United States
19 Attorney, and the above-captioned defendants, through their attorneys, hereby jointly move
20 pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure for this Court to enter a
21 Protective Order pertaining to pretrial discovery, and to prevent premature disclosure of
22 evidence to other targets, subjects, and witnesses of ongoing investigations. The parties
23 jointly agree to the following:
24         (1) That the defendants, counsel of record, and the counsels’ assistants, as hereafter
25 defined, shall not disclose the substance of any discovery material received from the United
26 States in the above-captioned matter, to any third party, unless such material is already a
27 matter of public record, without prior approval of this Court;
28         (2) That the United States Attorney and the Assistant United States Attorney
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 1 assigned to this case (hereafter collectively referred to as “the United States”) and their
 2 assistants, the defendant, counsel and assistants, shall not disclose the substance of any
 3 discovery material produced to the defendant or obtained by the United States from the
 4 defendant, unless such material is already a matter of public record, to representatives of
 5 the media or other third parties not involved in the overall investigation or prosecution of
 6 the case.
 7          (3) Nothing contained herein shall prevent the United States, or any defendant or
 8 their counsel, from disclosing such discovery material to any other attorneys working for
 9 the United States, the defendant or counsel, government agents (federal, state or local),
10 private investigators, experts, secretaries, law clerks, paralegals, or any other person who
11 is working for the United States or the defendants and their counsel (collectively referred
12 to as “assistants”) in the investigation or preparation of this case or, with respect to the
13 United States and its assistants only, in other criminal investigations, without prior court
14 order.
15          (4) Further, nothing contained herein shall preclude the United States, the defendant
16 or counsel, or the respective assistants from conducting a normal investigation of the facts
17 of this case on behalf of the United States or the defendant, or with respect to the United
18 States and its assistants only, from conducting an investigation of other criminal activity,
19 including interviewing witnesses disclosed by discovery materials, or from taking
20 statements from witnesses disclosed by discovery materials, or from asking witnesses if
21 they themselves have made prior statements to the United States that are disclosed in the
22 discovery materials, and about the contents of such statements. In connection with any
23 such investigation, it shall not be necessary that the United States, the defendant or his
24 counsel, or the respective assistants, obtain prior permission of the Court.
25          (5) Should counsel withdraw or be disqualified from participation in this case, any
26 material received and any copies derived therefrom, shall be returned to the United States
27 within ten (10) days or, if agreed to by the parties, to replacement counsel.
28          (6) Defense counsel and the United States shall be required to communicate the
       JOINT MOTION FOR PROTECTIVE ORDER           2
     REGARDING DISCOVERY
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1 substance of this order and explain it to their clients and assistants before disclosing the
2 substance of the discovery to their clients or assistants.
3
                                                 Respectfully Submitted,
4
                                                 RANDY S. GROSSMAN
5                                                Acting United States Attorney
6
     DATED: 5/23/2022                            /s/ A. Dale Blankenship
7                                                A. DALE BLAKENSHIP
8                                                Assistant United States Attorney

9
10 DATED: 5/23/2022                               /s/ David R. Silldorf
11                                               DAVID R. SILLDORF
                                                 Attorney for Defendant
12                                               Thuy Cam Tran (1)
13
14 DATED: 5/23/2022                               /s/ Samantha B. Jaffe
15                                               SAMANTHA B. JAFFE
                                                 Attorney for Defendant
16                                               Saya Souvannaseng (2)
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       JOINT MOTION FOR PROTECTIVE ORDER         3
     REGARDING DISCOVERY
